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COUNSEL FOR WFCM 2016-LC25 WEST
BAY AREA BOULEVARD, LLC


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

In re:                              )                          Chapter 11
                                    )
KORNBLUTH TEXAS, LLC,               )                          Case No. 21-32261 (CML)
                                    )
              Debtor.               )
____________________________________)

                        NOTICE OF WINNING BID AT FORECLOSE SALE

          PLEASE TAKE NOTICE that on December 16, 2021, pursuant to the terms of the Order

Regarding WFCM 2016-LC25 West Bay Area Boulevard, LLC’s Motion for Relief from the

Automatic Stay with Respect to Non-Residential Real Property [Docket No. 85], entered on

September 30, 2021, WFCM 2016-LC25 West Bay Area Boulevard, LLC (“Lender”)1 gave notice

(the “December 2021 Notice”) of its election to foreclose on the Property.

          PLEASE TAKE FURTHER NOTICE that, pursuant to its Notice of Foreclosure Sale

(the “Foreclosure Notice”),2 dated December 9, 2021, Lender noticed the Property for a non-

judicial foreclosure sale (the “Foreclosure Sale”) to be conducted on January 4, 2022, between the

hours of 10:00 a.m. and 4:00 p.m. (prevailing Central Time).



1
    Capitalized terms used but not defined herein have the meaning ascribed to them in the Order.
2
    A copy of the Foreclosure Notice was attached as Exhibit A to the December 2021 Notice.


                                                          1
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       PLEASE TAKE FURTHER NOTICE that the Foreclosure Sale was conducted on

January 4, 2022, pursuant to the Foreclosure Notice and the Deed of Trust (as defined in the

Foreclosure Notice).

       PLEASE TAKE FURTHER NOTICE that the highest bid for the Property at the

Foreclosure Sale was $5,750,000.00, and Lender was the winning bidder.

Dated: January 4, 2022                            Respectfully submitted,

                                                  /s/ Charles R. Gibbs               .
                                                  Charles R. Gibbs (SBN: 07846300)
                                                  Eric C. Seitz (SBN: 24067863)
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                                                  BAY AREA BOULEVARD, LLC




                                             2
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                               CERTIFICATE OF SERVICE

       I certify that on January 4, 2022, I caused a copy of the foregoing document to be served

by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern

District of Texas.

                                                    /s/ Eric C. Seitz           .
                                                    Eric C. Seitz
